
938 A.2d 839 (2008)
402 Md. 647
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Mikre-Michael AYELE, Respondent.
Misc. Docket AG No. 11 Sept. Term, 2007.
Court of Appeals of Maryland.
January 4, 2008.
James P. Botluk, Asst. Bar Counsel (Melvin Hirshman, Bar Counsel, Attorney Grievance Com'n of Maryland), for petitioner.
Argued Before BELL, C.J., RAKER, HARRELL, BATTAGLIA, GREENE, JJ., and LAWRENCE F. RODOWSKY and DALE R. CATHELL (Retired, specially assigned), JJ.

ORDER
The Court having considered the Petition for Disciplinary Action or Remedial Action filed in the above entitled case, the Findings of Fact filed by the Honorable Paul A. Hackner and at oral argument, Bar Counsel having submitted to the Court a suggestion of death setting forth that the Respondent died on May 13, 2007, it is this 4th day of January, 2008
ORDERED, by the Court of Appeals of Maryland, that the petition for disciplinary action be, and it is hereby, dismissed.
